        Case 24-11411-amc                     Doc       Filed 07/10/24 Entered 07/10/24 12:48:54                               Desc Main
 Fill in this information to identify the case:         Document      Page 1 of 8

 Debtor 1          Aliya Ishan Mitchell
                   __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern                Pennsylvania
                                         __________ District of __________

 Case number           24-11411-amc
                       ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: MIDFIRST  BANK
                   _______________________________________                                                       19
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          9 ____
                                                        ____ 3 ____
                                                                 0 ____
                                                                     0               Must be at least 21 days after date       8/1/2024
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                 826.14
                                                                                                                                $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
      q No
      q Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    292.80*
                   Current escrow payment: $ _______________                       New escrow payment:                   292.30
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      q No
      q Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:        _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      q No
      q Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                              page 1
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Debtor 1         Aliya      IshanMiddleMitchell
                 _______________________________________________________                                  24-11411-amc
                                                                                       Case number (if known) _____________________________________
                 First Name             Name    Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     q I am the creditor.
     q I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.


                     /s/ Wendy Locke
 û   _____________________________________________________________
     Signature
                                                                                       Date   07/03/2024
                                                                                              ___________________




 Print:            Wendy   Locke
                   _________________________________________________________           Title Authorized  Agent for Creditor
                                                                                             ___________________________
                    First Name                Middle Name       Last Name



 Company           Aldridge  Pite, LLP
                   _________________________________________________________



 Address           3333 Camino del Rio South, Suite 225
                   _________________________________________________________
                    Number           Street

                   San Diego                       CA      92108
                   ___________________________________________________
                    City                                        State       ZIP Code



 Contact phone     (858) 750-7600
                   ________________________
                                                                                              wlocke@aldridgepite.com
                                                                                       Email ________________________




*Please note that the old escrow payment amount included in the attached Annual Escrow Account Statement reflects the escrow payment amount
prior to the filing of the bankruptcy case. The existing post-petition escrow payment amount is $292.80, as reflected on the Escrow Payment
Analysis included in Creditor’s Proof of Claim.




Official Form 410S1                                           Notice of Mortgage Payment Change                                           page 2
                                                         REPRESENTATION OF PRINTED DOCUMENT                            Page   1 of 2
        Case 24-11411-amc    Doc
                       Midland        Filed 07/10/24 Entered 07/10/24 12:48:54
                               Mortgage                                                                         Desc Main
                       P.O. Box 26648 Document      Page 3 of 8
                                Oklahoma City, OK 73126-0648

                                                                                         1730 MOHICAN STREET
                                                                                        PHILADELPHIA PA 19138
                                                                                       Date Reviewed: 05/14/2024
                                                                            Next Escrow Cycle: Aug 2024 - Jul 2025


      ALIYA MITCHELL
      1730 MOHICAN STREET
      PHILADELPHIA PA 19138




                                           Escrow Account Statement
Why am I           Midland Mortgage, a division of MidFirst Bank ("Midland") recently reviewed your escrow account.
receiving          Part of your monthly mortgage loan payment (“mortgage payment”) goes into your escrow account to
                   pay recurring expenses on your behalf such as property taxes, insurance, and other items required by
this
                   your loan documents. This statement shows how those expenses affect the amount of your monthly
statement?         mortgage payment.
Why did my         The most common reason escrow payments change is an increase or decrease in the amounts you
payment            pay in property taxes and homeowner's insurance. If you have questions about a change in your
change?            tax or insurance bills, please contact your local taxing authority or insurance agent.

What do I          Please review your escrow statement below. The “Escrow Surplus” section gives the amount of your
need to do         escrow surplus and explains the status of your surplus funds. The last page of this statement includes
next?              helpful answers to common escrow questions.

Important          If you have received a bankruptcy discharge of the debt secured by the Mortgage/Deed of Trust, or you are
                   currently in bankruptcy under the protection of the automatic stay, this letter is not an attempt to collect the debt
Notices
                   from you personally and is for informational purposes only. If your loan was in default at the time MidFirst Bank
                   obtained it, and you have not filed bankruptcy or received a discharge of the debt secured by the
                   Mortgage/Deed of Trust, we are required to advise you that this communication is from a debt collector, this is
                   an attempt to collect a debt, and any information obtained will be used for that purpose.

                   Notice to Connecticut and North Carolina Residents: The purpose of this communication is to collect a debt.

                   Notice to Vermont Residents: This is an attempt to collect a debt and any information obtained will be used for
                   that purpose.



New Monthly Mortgage Payment
The amount needed in your escrow account to pay your expenses, such as property taxes or homeowner's insurance,
has changed. Because of this, your mortgage payment has changed to $826.14 beginning with the 8/1/2024
mortgage payment.

Monthly Payment                                             Old Payment                  New Payment                  Change
Principal & Interest                                        $533.84                      $533.84                      None
Escrow Deposit plus Escrow Shortage or Surplus              $109.53                      $292.30                      Increase
Total Monthly Mortgage Payment                              $643.37                      $826.14                      Increase

Escrow Bills and Escrow Payment
The following chart shows the breakdown of the amounts we anticipated to be paid from your escrow account since the
last review and the new amounts we expect to pay from your escrow account between August 2024 and July 2025.

Escrow Bills                                   Old Amount                        New Amount                            Change
Homeowners Ins                                 $0.00                             $2,217.00                             Increase
City/Town Tax                                  $1,290.62                         $1,290.62                             None
Annual Total                                   $1,290.62                         $3,507.62                             Increase
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      ALDRIDGE PITE, LLP
      3333 Camino del Rio South
      Suite 225
      San Diego CA 92108
      Telephone: (858) 750-7600
      Facsimile: (619) 590-1385




                                UNITED STATES BANKRUPTCY COURT

              EASTERN DISTRICT OF PENNSYLVANIA - PHILADELPHIA DIVISION
      In re                                           Case No. 24-11411-amc

      ALIYA ISHAN MITCHELL,                           Chapter 13

                       Debtor(s).                     PROOF OF SERVICE


              I, Sarah Valdez, declare that:

              I am employed by Aldridge Pite, LLP. My business address is:3333 Camino del Rio South,

     Suite 225, San Diego CA 92108. I am over the age of eighteen years and not a party to this cause.

              On July 10, 2024, I caused the NOTICE OF MORTGAGE PAYMENT CHANGE to be

     served in said case by electronic means through the court’s CM/ECF system or through United

     States Mail, addressed as follows: SEE ATTACHED SERVICE LIST.

              I declare under penalty of perjury that the foregoing is true.


                                                     /s/Sarah Valdez
                                                     SARAH VALDEZ




                                                      -1-
     PROOF OF SERVICE
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                                       SERVICE LIST

     DEBTOR(S)
     (VIA US MAIL)
     Aliya Ishan Mitchell
     1730 Mohican St
     Philadelphia, PA 19138-1116


     DEBTOR(S) ATTORNEY
     (VIA ELECTRONIC NOTICE)
     MICHAEL A. CIBIK


     CHAPTER 13 TRUSTEE
     (VIA ELECTRONIC NOTICE)
     KENNETH E. WEST


     UNITED STATES TRUSTEE
     (VIA ELECTRONIC NOTICE)
     United States Trustee




                                             -2-
     PROOF OF SERVICE
